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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

AC2T, INC. d/b/a SPARTAN MOSQUITO,                     :
                                                       :
                               Plaintiff,              :     NO. 19-CV-5946-RBS
                                                       :
        v.                                             :
                                                       :     ORAL ARGUMENT
COLIN PURRINGTON,                                      :
                                                             REQUESTED
                                                       :
                               Defendant.              :

               DEFENDANT’S MOTION FOR LEAVE TO FILE REPLY BRIEF

        Defendant Colin Purrington hereby moves the Court to request leave to file a reply brief in

further support of his motion to dismiss the complaint of AC2T, Inc. d/b/a Spartan Mosquito

(“Spartan”), which was filed on March 25, 2020 (the “Motion”).

        On April 7, 2020, Spartan filed its response to the Motion (the “Response”). In the

Response, Spartan argued for the first time that Mississippi law, and not Pennsylvania law, should

apply to this dispute. In describing the choice of law analysis, Spartan did not cite applicable and

controlling precedent concerning Pennsylvania choice of law rules. In addition, Spartan raised

arguments in the Response concerning Mr. Purrington’s invocation of the Noerr-Pennington

doctrine that misstate the scope of the doctrine under controlling Supreme Court precedent and

ignore recent precedent concerning the nature of petitioning the government. Mr. Purrington

therefore respectfully submits that a short reply brief discussing applicable precedent would aid

the Court in deciding the Motion.

        For all of those reasons, Defendant respectfully requests that the Court grant him leave to

file the reply brief attached to this motion as Exhibit A in further support of the Motion.




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 April 14, 2020                  KLEHR HARRISON HARVEY BRANZBURG LLP



                                 By:   /s/ Paige M. Willan
                                       Paige M. Willan
                                       Douglas F. Schleicher
                                       1835 Market Street, 14th Floor
                                       Philadelphia, PA 19103
                                       (215) 569-2700
                                       pwillan@klehr.com
                                       dschleicher@klehr.com

                                       Attorneys for Defendant Colin Purrington




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               EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

AC2T, INC. d/b/a SPARTAN MOSQUITO,                      :
                                                        :
                                 Plaintiff,             :     NO. 19-CV-5946-RBS
                                                        :
        v.                                              :
                                                        :     ORAL ARGUMENT
COLIN PURRINGTON,                                       :
                                                              REQUESTED
                                                        :
                                 Defendant.             :

                          REPLY MEMORANDUM OF LAW
             IN FURTHER SUPPORT OF DEFENDANT’S MOTION TO DISMISS

        Defendant Colin Purrington submits this reply memorandum of law in further support of

his motion to dismiss the complaint of AC2T, Inc. d/b/a Spartan Mosquito (“Spartan”), pursuant

to Federal Rule of Civil Procedure 12(b)(6), which was filed on March 25, 2020 (the “Motion”),

and in response to Plaintiff’s Response to Motion to Dismiss, which was filed on April 7, 2020

(the “Response”).

                                              ARGUMENT

        In the Response, Spartan asserts for the first time that Mississippi law should apply to its

claims. An analysis of controlling Pennsylvania precedent concerning choice of law demonstrates,

however, that Pennsylvania law should apply to this case. In addition, Spartan’s arguments in the

Response concerning the Noerr-Pennington doctrine misstate the scope of that doctrine under

applicable law.

        I.         Pennsylvania Has The Greater Interest In This Dispute,
                   and Pennsylvania Law Should Therefore Apply Here

        Spartan misstates Pennsylvania law governing conflicts of law by ignoring the need to

establish a true conflict and omitting entirely any analysis of the competing interests of

Pennsylvania and Mississippi. The Pennsylvania Supreme Court held explicitly last year that



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“[s]tates formerly applied the lex loci delicti, or ‘place of injury,’ rule . . . Pennsylvania, like a

majority of other states, has abandoned this rule in favor of a litmus framed in terms of which state

has the most significant relationship to the occurrence and the parties.” Melmark, Inc. v. Schutt,

206 A.3d 1096, 1107 (Pa. 2019). The Pennsylvania Supreme Court further held that Pennsylvania

courts must first consider whether a “true conflict” exists between the potentially applicable bodies

of law. Id. at 1104. Here, Spartan asserts baldly that Mississippi law applies because Spartan is

located in Mississippi.      Response at 8, 11-12.        Notably, however, Spartan identifies no

contradictory provisions of Mississippi law and instead asserts in numerous places that the

defamation law of Pennsylvania is consistent with the defamation law of Mississippi. Id.; see also

Response at 14, 17, 18, 19. Accordingly, it is not even clear that a true conflict exists justifying

the application of Mississippi law instead of Pennsylvania law.

        Even if a true conflict between the law of Mississippi and Pennsylvania exists with respect

to the Pennsylvania Environmental Immunity Act – as Spartan suggests by arguing that Mississippi

law bars application of that statute – Pennsylvania’s superior interest in applying that law should

prevail. The Pennsylvania Supreme Court held that the location of the events underlying a suit,

the interests that a state seeks to vindicate in its laws, and whether a foreign plaintiff seeks to carry

its own more protective laws into this jurisdiction are all important considerations in determining

which law should apply. Melmark, Inc., 206 A.3d at 1107-09. Here, Spartan’s complaint contains

only statements made in Pennsylvania by a Pennsylvania citizen conducting tests of a product in

Pennsylvania. See Complaint ¶¶ 2, 11-25. Although Spartan is headquartered in Mississippi and

therefore tacitly claims that the location of the harm is Mississippi, Spartan notably pleaded

precisely zero facts establishing that it was actually harmed in Mississippi or anywhere else. See

Response at 19 (admitting that Spartan merely alleged that it was damaged). The locus of the


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relevant events therefore supports the application of Pennsylvania law. See Melmark, Inc., 206

A.3d at 1107.

        In addition, Pennsylvania has a strong interest in protecting its citizens’ constitutional

rights to speak and petition the government on environmental issues. The Pennsylvania General

Assembly declared in the bill enacting the Environmental Immunity Act that “[i]t is contrary to

the public interest to allow lawsuits . . . to be brought primarily to chill the valid exercise by citizens

of their constitutional right to freedom of speech and to petition the government for the redress of

grievances.” 2000 Pa Legis. Serv. Act 2000-138 (H.B. 393). In contrast, Spartan identified no

competing interest of Mississippi that supports a refusal to apply this statute. See Response at 11-

12. The competing interests of the two states therefore also supports applying Pennsylvania law.

See Melmark, Inc., 206 A.3d at 1109.

        Finally, Spartan’s attempt to preclude a Pennsylvania citizen from relying upon the

protection of Pennsylvania statute based upon what it apparently views as more favorable law from

Mississippi is looked upon with disfavor in Pennsylvania courts. In Melmark, the Pennsylvania

Supreme Court noted that a Pennsylvania citizen “should not be put in jeopardy” of harm arising

from a foreign plaintiff seeking to “carry their own, more protective, law with them” into

Pennsylvania and have it applied to a Pennsylvania citizen carrying out their activities in this

Commonwealth. See Melmark, Inc., 206 A.3d at 1108. Spartan seeks approval from this Court to

take exactly that action here. Arguing that unnamed provisions of Mississippi law prevent the

application of the Environmental Immunity Act, it claims that this Court should ignore the

provisions of that statute granting protection to Pennsylvania citizens. See Response at 11-12.

Spartan cannot prevail upon that position, however, without establishing stronger countervailing

interests of the State of Mississippi.       See Melmark, Inc., 206 A.3d at 1108.            Under these


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circumstances, the Court should decline Spartan’s invitation to disregard Pennsylvania law in favor

of unspecified interests of the State of Mississippi.

        II.        Spartan Misstates Application of the Noerr-Pennington Doctrine

        Spartan misstates the application of the Noerr-Pennington doctrine in two ways in the

Response: first, Spartan inaccurately suggests that state-law defamation claims are never barred

by the doctrine; and second, it incorrectly suggests that the Complaint, on its face, does not

demonstrate petitioning activity.

        The Court should dismiss this case on the grounds of the Noer-Pennington doctrine not

because the doctrine provides immunity from suit in all cases, but because the doctrine does not

provide for liability under the facts alleged in the Complaint. Contrary to Spartan’s suggestion,

the Noerr-Pennington doctrine applies to state law tort claims, including defamation. Cheminor

Drugs, Ltd. v. Ethyl Corp., 168 F.3d 119, 128 (3d Cir. 1999) (applying Noerr-Pennington doctrine

to New Jersey state law tort claims); Brownsville Golden Age Nursing Home, Inc. v. Wells, 839

F.2d 155, 159-60 (3d Cir. 1988) (applying Noerr-Pennington doctrine to Pennsylvania state law

tort claims); Caixa Geral de Depositos, S.A. v. Rodrigues, 2005 WL 1541055, at *10-11 (D.N.J.

June 30, 2005) (hereafter, “Caixa”) (holding that Noerr-Pennington barred New Jersey law

defamation claims arising from a letter written to federal regulators accusing the claimant of

violating federal regulations). Moreover, under current U.S. Supreme Court precedent, any falsity

exception to the immunity from liability provided by Noerr-Pennington applies only where the

statements made in the petition are “objectively baseless”. Caixa, 2005 WL 1541055, at *10-11

(citing Prof’l Real Est. Investors v. Columbia Picture Indus., Inc., 508 U.S. 49, 60 (1993)). An

analysis of the Noerr-Pennington doctrine in this case should account for this more recent




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precedent that supplements the understanding of the doctrine in the 1985 case Spartan cited in the

Response.

        Under that analysis, where – as here – the basic facts alleged in the problematic statements

are not alleged to be false, the Noerr-Pennington doctrine provides for dismissal at the pleading

stage. O’Neill v. Rossum, 2018 WL 4233573, at *7-9. In O’Neill, the court noted that the plaintiff

objected to the accuracy of certain alleged statements in the petitions, including that the plaintiff

caused pollution at issue and that the plaintiff’s development would expose local residents to

additional pollution. O’Neill, 2018 WL 4233573, at *7. But the court also noted that the plaintiff

did not dispute that it was not fully remediating the site and that such circumstances could lead to

additional pollution. Id. at *9. It therefore found that the petitioning was not objectively baseless

and could not support Pennsylvania common law claims for defamation and commercial

disparagement. Id. at *9. Similarly here, Spartan does not dispute the veracity of the basic factual

statements made by Mr. Purrington – that he conducted an evaluation of Spartan’s product, that he

observed spotted-wing drosophila in the product, and that he came to the conclusion that the

product does not work as advertised. See Response at 13-16. Accordingly, as in O’Neill, the mere

disagreement about the conclusions derived from agreed upon facts, where those conclusions are

contained in a direct petition to the government or in community advocacy, cannot sustain a

defamation claim or a commercial disparagement claim at the pleading stage. See O’Neill, 2018

WL 4233573, at *9. For this reason, the cases cited in the Response do not preclude dismissal

under Noerr-Pennington.

        The exhibits to the Complaint containing tweets directed at a federal agency constitute

petitions to the government that are covered by the Noerr-Pennington doctrine. Although it does

not appear that a court has yet considered a tweet directed at a government entity specifically in


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the context of the Noerr-Pennington doctrine, both the U.S. Supreme Court and the Southern

District of New York have noted – in the context of other First Amendment doctrines – that a tweet

can be a petition to the government. Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017);

Knight First Amendment Inst. v. Trump, 302 F. Supp. 3d 541, 574-75 (S.D.N.Y. 2018).

Accordingly, Spartan’s argument in the Response that a tweet does not constitute petitioning

activity should be rejected.

                                         CONCLUSION

        For the reasons set forth above, and for the reasons set forth in the Motion and supporting

brief, Colin Purrington respectfully requests that the Court dismiss the Complaint in its entirety,

with prejudice, and grant such other and further relief as the Court deems proper and just. In the

alternative, Mr. Purrington respectfully requests that the Court schedule a hearing to determine the

preliminary issue of Mr. Pennington’s immunity pursuant to the Pennsylvania Environmental

Immunity Act, as required by 27 Pa. C.S.A. § 8303.

 April 14, 2020                         KLEHR HARRISON HARVEY BRANZBURG LLP



                                        By:    /s/ Paige M. Willan
                                               Paige M. Willan
                                               Douglas F. Schleicher
                                               1835 Market Street, 14th Floor
                                               Philadelphia, PA 19103
                                               (215) 569-2700
                                               pwillan@klehr.com
                                               dschleicher@klehr.com

                                               Attorneys for Defendant Colin Purrington




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                               CERTIFICATION OF SERVICE


        I hereby certify that on April 14, 2020, I served a true and correct copy of the foregoing

Defendant’s Motion for Leave to File Reply Brief, the exhibit thereto, and the accompanying

proposed order via this Court’s electronic filing system and via electronic mail on the below-listed

counsel for Plaintiff AC2T, Inc.:

                                       Evan L. Frank, Esq.
                               Alan L. Frank Law Associates, P.C.
                                       135 Old York Road
                                     Jenkintown, PA 19046
                                       afrank@alflaw.net

                                    Counsel for Plaintiff AC2T, Inc.



                                                     By: /s/ Paige M. Willan
                                                            Paige M. Willan




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